                       UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                             Case No. 3:19-CV-210
YURII KOROTKOV and IRYNA
PAVLOVNA KOROTKOVA

                                   Plaintiffs      CERTIFICATION AND REPORT
                                                    OF RULE 26(f) CONFERENCE
                     v.                               AND DISCOVERY PLAN

SUNTRUST MORTGAGE, INC.

                                 Defendants

1) Certification of Conference. Pursuant to Fed. R. Civ. P. 26(f), a meeting was held on

   October 24, 2019, and was conducted by the undersigned, appearing for the

   designated parties in the above captioned case.

2) Pre-Discovery Disclosures. The information required by Fed. R. Civ. P. 26(a)(1) will

   be exchanged by November 25, 2019.

3) Discovery Plan. The parties propose to the Court the following discovery plan:

   a.   Discovery will be needed on the following subjects; relevant non-privileged

        information, testimony, and documents going toward the allegations advanced by

        the plaintiff, and the denials and defenses of the defendant to the extent that they

        relate directly to the allegations advanced by the plaintiff and plaintiff’s damages.

   b. All discovery shall be commenced in time to be completed by May 18, 2020.

   c. Discovery limits:

        i. Maximum of 30 interrogatories, including subparts, by each party to any other

           party.

        ii. Maximum of 30 requests for production of documents, including subparts, by

           each party to any other party.



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       iii. Maximum of 30 requests for admission by each party to any other party.

       iv. Maximum of 5 depositions by plaintiff and 5 by defendant.

          1. Depositions pursuant to Fed. R. Civ. P. 30(b)(6) shall be conducted in the

              city and state of the principal business for the company deponent unless

              otherwise agreed to by the parties.

   d. Reports from retained experts under rule 26(a)(2) along with a list of each expert’s

       available dates for depositions shall be due:

       i. From Plaintiff by March 16, 2020.

       ii. From Defendant by April 13, 2020.

   e. Supplementation under Rule 26(e) shall be due within 7 days of acquiring such

       knowledge as would trigger a Rule 26(e) supplementary disclosure or response,

       but in no case after May 25, 2020.

4) Other Items.

   a. Discovery of electronic information will be handled as follows: to the extent that

       any non-privileged electronically stored information is discoverable and

       requested, the producing party will provide hard copies of the information printed

       from the original source of the stored information, i.e. the producing party’s

       source of the stored information rather than producing the attorney’s stored

       information.

   b. The parties do not request a conference with the Court before entry of the

       scheduling order.

   c. All potentially dispositive motions shall be filed by July 20, 2020.




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   d. Settlement may be evaluated on an ongoing basis by all parties working in good

      faith.

   e. Parties agree to mediation on or before April 20, 2020. Out of state parties must

      appear personally.

   f. Final lists of witnesses and exhibits under Rule 26(a)(3) are due:

      i. From Plaintiff 30 days before the final pretrial conference.

      ii. From defendants 20 days before the final pretrial conference.

   iii. All parties must serve objections pursuant to Rule 26(a)(3) within 14 days after

      service of final lists of witnesses and exhibits.

   g. The parties have discussed the issue of consent to the jurisdiction of a US

      magistrate judge. The parties agree to submit to the jurisdiction of a magistrate for

      a judicial settlement conference, but do not otherwise agree to magistrate

      jurisdiction.

   h. The case should be ready for trial by November 2020. Trial of this matter is

      expected to take approximately 3 days.

TODAY is October 24, 2019.
   COLLUM & PERRY, PLLC                          TROUTMAN SANDERS, LLP

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